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                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
____________________________________
                                     : Master File No. 12-md-02311
IN RE AUTOMOTIVE WIRE                :
HARNESS SYSTEMS ANTITRUST :
LITIGATION                           :
___________________________________ :
                                     :
THIS DOCUMENT RELATES TO:            :
                                     :
All Direct Purchaser Actions         :
____________________________________:

           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

                             SUMMARY OF THE CASE

      1.     Plaintiffs, individually and on behalf of the Class described below,

bring this class action against Defendants for damages and injunctive relief under

the antitrust laws of the United States on behalf of direct purchasers who, during

the Class Period, purchased Wire Harness Products, as defined below, in the United

States from one or more of the Defendants. Defendants are manufacturers or

sellers of Wire Harness Products that are manufactured or sold in the United

States.

      2.     Plaintiffs allege that Defendants conspired to rig bids for, and to raise

fix, maintain, or stabilize the prices of, Wire Harness Products sold in the United

States from at least as early as January 1, 2000 until at least February 28, 2010 in

violation of Section 1 of the Sherman Act. Plaintiffs further allege that Defendants

fraudulently concealed their conspiracy.
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        3.    As a result of Defendants’ unlawful conduct, Plaintiffs and members of

 the Class paid higher prices for Wire Harness Products than they would have paid

 in a competitive market.

                            JURISDICTION AND VENUE

        4.    Plaintiffs bring this action to obtain injunctive relief and to recover

 damages, including treble damages, costs of suit and reasonable attorneys’ fees, as a

 result of Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. § 1.

        5.    The Court has jurisdiction over the subject matter of this action

 pursuant to Sections 4(a) and 16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, and 28

 U.S.C. §§ 1331 and 1337. Venue is proper in this District pursuant to Section 12 of

 the Clayton Act, 15 U.S.C. § 22, and 28 U.S.C. § 1391(b), (c) and (d) because a

 substantial part of the events giving rise to Plaintiffs’ claims occurred in this

 District, a substantial portion of the affected interstate trade and commerce has

 been carried out in this District, and one or more of the Defendants reside in this

 District.

        6.    This Court has personal jurisdiction over each of the Defendants

 because each Defendant, either directly or through the ownership or control of its

 United States subsidiaries: (a) transacted business in the United States, including

 in this District; (b) directly or indirectly sold or marketed substantial quantities of

 Wire Harness Products throughout the United States, including in this District; (c)

 had substantial aggregate contacts with the United States as a whole, including in

 this District; or (d) was engaged in an illegal price-fixing conspiracy that was



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 directed at, and had a direct, substantial, reasonably foreseeable and intended

 effect of causing injury to, the business or property of persons and entities residing

 in, located in, or doing business throughout the United States, including in this

 District. Defendants conduct business throughout the United States, including in

 this District, and they have purposefully availed themselves of the laws of the

 United States.

       7.     Defendants engaged in conduct both inside and outside of the United

 States that caused direct, substantial and reasonably foreseeable and intended anti-

 competitive effects upon interstate commerce within the United States.

       8.     Alternatively, there is jurisdiction over foreign Defendants pursuant to

 Federal Rule of Civil Procedure 4(k)(2).

                                    DEFINITIONS

       9.     The “Class Period” is from January 1, 2000 through the present.

       10.    The term “Wire Harness Products”, as used in this Complaint, refers to

 wire harnesses and the following related products: automotive electrical wiring,

 lead wire assemblies, cable bond, automotive wiring connectors, automotive wiring

 terminals, high voltage wiring, electronic control units, fuse boxes, relay boxes,

 junction blocks, and power distributors used in motor vehicles.

       11.    Wire harnesses are electrical distribution systems used

 to direct and control electronic components, wiring, and circuit boards in motor

 vehicles.




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       12.    “Defendant” or “Defendants” as used herein, includes all of the named

 Defendants’ predecessors during the Class Period.

                             TRADE AND COMMERCE

       13.    During the Class Period each Defendant sold Wire Harness Products

 in the United States, in a continuous and uninterrupted flow of interstate

 commerce.

       14.    During the Class Period, Defendants collectively controlled a majority

 of the market for Wire Harness Products, both globally and in the United States.

       15.    The business activities of the Defendants substantially affected

 interstate trade and commerce in the United States.

                                    THE PARTIES

 Plaintiffs

       16.    Plaintiff Mexican Industries in Michigan, Inc. by and through Timothy

 Miller, its Trustee in Bankruptcy (“Mexican Industries”) is a Michigan corporation

 with its principal place of business in Detroit, Michigan. Plaintiff Mexican

 Industries purchased Wire Harness Products directly from one or more of the

 Defendants during the Class Period.

       17.    Plaintiff Paesano Connecting Systems, Inc. (“Paesano”) is a

 Pennsylvania corporation with its principal place of business in Ridgway,

 Pennsylvania. Plaintiff Paesano purchased Wire Harness Products directly from

 one or more of the Defendants during the Class Period.




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       18.    Plaintiff Craft-Co Enterprises, Inc. (“Craft-Co”) is a Mississippi

 corporation with its principal place of business in Brandon, Mississippi. Plaintiff

 Craft-Co purchased Wire Harness Products directly from one or more of the

 Defendants during the Class Period.

       19.    Plaintiff Findlay Industries, Inc. (“Findlay”) is an Ohio corporation

 with its principal place of business in Findlay, Ohio. Plaintiff Findlay purchased

 Wire Harness Products directly from one or more of the Defendants during the

 Class Period.

       20.    Plaintiff Cesar-Scott, Inc. (“Cesar-Scott”) is a Texas corporation with

 its principal place of business in El Paso, Texas. Plaintiff Cesar-Scott purchased

 Wire Harness Products directly from one or more of the Defendants during the

 Class Period.

       21.    Plaintiff Martinez Manufacturing, Inc. (“Martinez”) is an Illinois

 corporation with its principal place of business in Cary, Illinois. Plaintiff Martinez

 purchased Wire Harness Products directly from one or more of the Defendants

 during the Class Period.

       22.    Plaintiff South Star Corporation (“South Star”) is a Virginia

 corporation with its principal place of business in Elliston, Virginia. Plaintiff South

 Star purchased Wire Harness Products directly from one or more of the Defendants

 during the Class Period.




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 The Delphi Defendants

       23.    Defendant Delphi Automotive LLP is a partnership organized under

 the laws of England and Wales. It was formed in 2009 to buy assets of Troy,

 Michigan-based Delphi Corporation, which filed for bankruptcy protection in 2005.

 Defendant Delphi Automotive LLP – directly or through its subsidiaries, which it

 wholly owned or controlled – manufactured, marketed or sold Wire Harness

 Products that were purchased throughout the United States, including in this

 District, during the Class Period.

       24.    Defendant Delphi Automotive Systems, LLC is a Delaware corporation

 with its principal place of business in Troy, Michigan. It is a subsidiary of and

 wholly owned or controlled by its parent, Delphi Automotive LLP. Officers from

 Defendant Delphi Automotive LLP work out of the Michigan offices of Defendant

 Delphi Automotive Systems, LLC. Defendant Delphi Automotive Systems, LLC

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

       25.    Defendant DPH Holdings Corporation (f/k/a Delphi Corporation) is a

 Delaware corporation with its principal place of business in Warren, Ohio. It is a

 subsidiary of and wholly owned or controlled by its parent, Delphi Automotive LLP.

 Defendant DPH Holdings Corporation manufactured, marketed or sold Wire

 Harness Products that were purchased throughout the United States, including in

 this District, during the Class Period.




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       26.    Defendant Delphi Furukawa Wiring Systems LLC is a limited liability

 company created in 2004 as a joint venture between Delphi Corporation and

 Furukawa Electric Co., Ltd. with its principal place of business in Ann Arbor,

 Michigan. Delphi Furukawa Wiring Systems LLC manufactured, marketed or sold

 Wire Harness Products that were purchased throughout the United States,

 including in this District, during the Class Period.

       27.    Defendants Delphi Automotive LLP, Delphi Automotive Systems, LLC,

 DPH Holdings Corporation and Delphi Furukawa Wiring Systems LLC shall

 collectively be referred to herein as the “Delphi Defendants” or “Delphi.”

 The Denso Defendants

       28.    Defendant Denso Corporation is a Japanese corporation. Defendant

 Denso Corporation – directly or through its subsidiaries, which it wholly owned or

 controlled – manufactured, marketed or sold Wire Harness Products that were

 purchased throughout the United States, including in this District, during the Class

 Period.

       29.    Defendant Denso International America, Inc. is a Delaware

 corporation with its principal place of business in Southfield, Michigan. It is a

 subsidiary of and wholly owned or controlled by its parent, Denso Corporation.

 Defendant Denso International America, Inc. manufactured, marketed or sold Wire

 Harness Products that were purchased throughout the United States, including in

 this District, during the Class Period. During the Class Period, its activities in the

 United States were under the control and direction of Denso Corporation.




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       30.    Defendant Asmo Co. Ltd. (“Asmo”) is a Japanese corporation with its

 principal place of business in Japan. Asmo is a wholly-owned and controlled

 subsidiary of Defendant Denso Corporation. Defendant Asmo manufactured,

 marketed or sold Wire Harness Products that were purchased throughout the

 United States, including in this District, during the Class Period. During the Class

 Period, its activities in the United States were under the control and direction of

 Denso Corporation.

       31.    Defendants Denso Corporation, Denso International America, Inc. and

 Asmo Co., Ltd. shall collectively be referred to herein as the “Denso Defendants” or

 “Denso.”

 The Fujikura Defendants

       32.    Defendant Fujikura Ltd. is a Japanese corporation. Defendant

 Fujikura Ltd. – directly or through its subsidiaries, which it wholly owned or

 controlled – manufactured, marketed or sold Wire Harness Products that were

 purchased throughout the United States, including in this District, during the Class

 Period.

       33.    Defendant Fujikura America, Inc. is a Delaware corporation with its

 principal place of business in Atlanta, Georgia. It is a subsidiary of and wholly

 owned or controlled by its parent, Fujikura Ltd. Defendant Fujikura America, Inc.

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.




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 During the Class Period, its activities in the United States were under the control

 and direction of Fujikura Ltd.

       34.    Defendants Fujikura Ltd. and Fujikura America, Inc. shall collectively

 be referred to herein as the “Fujikura Defendants” or “Fujikura.”

 The Furukawa Defendants

       35.    Defendant Furukawa Electric Co., Ltd. is a Japanese corporation.

 Defendant Furukawa Electric Co., Ltd. – directly or through its subsidiaries, which

 it wholly owned or controlled – manufactured, marketed or sold Wire Harness

 Products that were purchased throughout the United States, including in this

 District, during the Class Period.

       36.    Defendant American Furukawa, Inc. is a Delaware corporation with its

 principal place of business in Plymouth, Michigan. It is a subsidiary of and wholly

 owned or controlled by its parent, Furukawa Electric Co. Ltd. Defendant American

 Furukawa, Inc. manufactured, marketed or sold Wire Harness Products that were

 purchased throughout the United States, including in this District, during the Class

 Period. During the Class Period, its activities in the United States were under the

 control and direction of Furukawa Electric Co., Ltd.

       37.    Defendant Furukawa Wiring Systems America, Inc. f/k/a Furukawa

 Lear Corporation and Lear Furukawa Corporation is a Delaware corporation with

 its principal place of business in El Paso, Texas. Defendant Furukawa Wiring

 Systems America, Inc. is 60% owned by Furukawa Electric Co., Ltd. and 40% owned

 by American Furukawa, Inc. During the Class Period, Furukawa Wiring Systems




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 America, Inc. operated as a joint venture between Lear Corporation and Furukawa

 Electric Co., Ltd. that manufactured, distributed or sold Wire Harness Products

 that were purchased throughout United States, including in this District. In June

 2010, Furukawa Electric Co., Ltd. purchased all of Lear’s Corporation’s remaining

 interest.

       38.    Defendants Furukawa Electric Co., Ltd. American Furukawa, Inc. and

 Furukawa Wiring Systems America, Inc. shall collectively be referred to herein as

 the “Furukawa Defendants” or “Furukawa.”

 The Lear Defendants

       39.    Defendant Lear Corporation is a Delaware corporation with its

 principal place of business in Southfield, Michigan. Defendant Lear Corporation –

 directly or through its subsidiaries, which it wholly owned or controlled –

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

       40.    Defendant Kyungshin-Lear Sales and Engineering, LLC is a Delaware

 corporation with its principal place of business in Selma, Alabama. It is a joint

 venture between Defendant Lear Corporation and Kyungshin Corporation of South

 Korea. Defendant Kyungshin-Lear Sales and Engineering, LLC manufactured,

 marketed or sold Wire Harness Products that were purchased throughout the

 United States, including in this District, during the Class Period.




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       41.    Defendants Lear Corporation and Kyungshin-Lear Sales and

 Engineering, LLC shall collectively be referred to herein as the “Lear Defendants”

 or “Lear.”

       42.    Lear filed for Chapter 11 bankruptcy protection on July 7, 2009. After

 its emergence from Chapter 11 bankruptcy proceedings on November 9, 2009, Lear

 continued to sell Wire Harness Products pursuant to and as part of its participation

 in furtherance of the conspiracy. From and after November 2009, Lear had

 significant Wire Harness Products sales in the United States at supra-competitive

 prices. In 2010 alone, Lear had $2.56 billion in total sales in its electric power and

 management systems, which includes significant sales of Wire Harness Products in

 the United States pursuant to the conspiracy.

 The Leoni Defendants

       43.    Defendant Leoni AG is a German corporation. Defendant Leoni AG –

 directly or through its subsidiaries, which it wholly owned or controlled –

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

       44.    Defendant Leoni Wiring Systems, Inc. is a Delaware corporation with

 its principal place of business in Tucson, Arizona. It is a subsidiary of and wholly

 owned or controlled by its parent, Leoni AG. Defendant Leoni Wiring Systems Inc.

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.




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 During the Class Period, its activities in the United States were under the control

 and direction of Leoni AG.

       45.    Defendant Leonische Holding, Inc. is a Delaware corporation with its

 principal place of business in Tucson, Arizona. It is a subsidiary of and wholly

 owned or controlled by its parent, Leoni AG. Defendant Leonische Holding, Inc.

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

 During the Class Period, its activities in the United States were under the control

 and direction of Leoni AG.

       46.    Defendant Leoni Kabel GmbH is a German corporation. Defendant

 Leoni Kabel GmbH manufactured, marketed or sold Wire Harness Products that

 were purchased throughout the United States, including in this District, during the

 Class Period.

       47.    Defendant Leoni Wire Inc. is a Massachusetts corporation with its

 principal place of business in Chicopee, Massachusetts. Leoni Wire Inc. is a wholly-

 owned and controlled subsidiary of Defendant Leoni AG. Defendant Leoni Wire Inc.

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

 During the Class Period, its activities in the United States were under the control

 and direction of Leoni AG.




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       48.    Defendants Leoni AG, Leoni Wiring Systems, Inc., Leonische Holding,

 Inc., Leoni Kabel GmbH and Leoni Wire Inc. shall collectively be referred to herein

 as the “Leoni Defendants” or “Leoni.”

 The Sumitomo Defendants

       49.    Defendant Sumitomo Electric Industries, Ltd. is a Japanese

 corporation. Defendant Sumitomo Electric Industries, Ltd. – directly or through its

 subsidiaries, which it wholly owned or controlled – manufactured, marketed or sold

 Wire Harness Products that were purchased throughout the United States,

 including in this District, during the Class Period.

       50.    Defendant Sumitomo Wiring Systems, Ltd. is a Japanese corporation.

 Defendant Sumitomo Wiring Systems, Ltd. – directly or through its subsidiaries,

 which it wholly owned or controlled – manufactured, marketed or sold Wire

 Harness Products that were purchased throughout the United States, including in

 this District, during the Class Period.

       51.    Defendant Sumitomo Electric Wiring Systems, Inc. is a Delaware

 corporation with its principal place of business in Bowling Green, Kentucky. It is a

 joint venture between Defendants Sumitomo Electric Industries, Ltd. and

 Sumitomo Wiring Systems, Ltd. Defendant Sumitomo Electric Wiring Systems,

 Inc. manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

 During the Class Period, its activities in the United States were under the control




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 and direction of Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems,

 Ltd.

        52.   Defendant K&S Wiring Systems, Inc. is a Delaware corporation with

 its principal place of business in La Vergne, Tennessee. It is a subsidiary of and

 wholly owned or controlled by its parent, Sumitomo Electric Industries, Ltd.

 Defendant K&S Wiring Systems, Inc. manufactured, marketed or sold Wire

 Harness Products that were purchased throughout the United States, including in

 this District, during the Class Period. During the Class Period, its activities in the

 United States were under the control and direction of Sumitomo Electric Industries,

 Ltd.

        53.   Defendant Sumitomo Wiring Systems (U.S.A.) Inc. is a Michigan

 corporation with its principal place of business in Novi, Michigan. It is a joint

 venture between Defendants Sumitomo Electric Industries, Ltd. and Sumitomo

 Wiring Systems, Ltd. Defendant Sumitomo Wiring Systems (U.S.A.) Inc.

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

 During the Class Period, its activities in the United States were under the control

 and direction of Sumitomo Electric Industries, Ltd. and Sumitomo Wiring Systems,

 Ltd.

        54.   Defendant Sumitomo Electric Wintec America, Inc. is a Kentucky

 corporation with its principal place of business in Edmonton, Kentucky. Sumitomo

 Electric Wintec America, Inc. is a wholly-owned and controlled subsidiary of




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 Defendant Sumitomo Electric Industries, Ltd. Defendant Sumitomo Electric Wintec

 America, Inc. manufactured, marketed or sold Wire Harness Products that were

 purchased throughout the United States, including in this District, during the Class

 Period. During the Class Period, its activities in the United States were under the

 control and direction of Sumitomo Electric Industries, Ltd.

       55.     Defendants Sumitomo Electric Industries, Ltd., Sumitomo Wiring

 Systems, Ltd., Sumitomo Electric Wiring Systems, Inc., K&S Wiring Systems, Inc.,

 Sumitomo Wiring Systems (U.S.A.) Inc., and Sumitomo Electric Wintec America,

 Inc. shall collectively be referred to herein as the “Sumitomo Defendants” or

 “Sumitomo.”

 The Yazaki Defendants

       56.     Defendant Yazaki Corporation is a Japanese corporation. Defendant

 Yazaki Corporation – directly or through its subsidiaries, which it wholly owned or

 controlled – manufactured, marketed or sold Wire Harness Products that were

 purchased throughout the United States, including in this District, during the Class

 Period.

       57.     Defendant Yazaki North America, Inc. is an Illinois corporation with

 its principal place of business in Canton Township, Michigan. It is a subsidiary of

 and wholly owned or controlled by its parent, Yazaki Corporation. Defendant

 Yazaki North America Inc. manufactured, marketed or sold Wire Harness Products

 that were purchased throughout the United States, including in this District,




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 during the Class Period. During the Class Period, its activities in the United States

 were under the control and direction of Yazaki Corporation.

       58.    Defendant S-Y Systems Technologies Europe GmbH is a German

 corporation. S-Y Systems Technologies Europe GmbH was formed as a joint

 venture between Siemens and Yazaki Corporation. Defendant S-Y Systems Europe

 GmbH – directly or through its subsidiaries, which it wholly owned or controlled –

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

       59.    Defendant S-Y Systems Technologies America, LLC is a Delaware

 corporation with its principal place of business in Dearborn, Michigan. It is

 currently a wholly owned subsidiary of or controlled by its parent Defendant Yazaki

 Corporation, but was formerly a joint venture between Siemens VDO Automotive

 AG and Yazaki Corporation. Defendant S-Y Systems Technologies America, LLC

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

 During the Class Period, its activities in the United States were under the control

 and direction of Siemens and Yazaki Corporation, or its current Japanese parent,

 Yazaki Corporation.

       60.    Yazaki Corporation, Yazaki North America, Inc., S-Y Systems

 Technologies Europe GmbH, and S-Y Systems Technologies America, LLC are

 herein referred to as shall collectively be referred to herein as the “Yazaki

 Defendants” or “Yazaki.”




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 The Tokai Rika Defendants

       61.    Defendant Tokai Rika Co., Ltd. is a Japanese corporation. Defendant

 Tokai Rika Co., Ltd. manufactured, marked or sold Wire Harness Products that

 were purchased throughout the United States, including in this District, during the

 Class Period.

       62.    Defendant TRAM, Inc. (“TRAM”) is a Michigan corporation with its

 principal place of business in Plymouth, Michigan. TRAM is a wholly-owned and

 controlled subsidiary of Defendant Tokai Rika Co., Ltd. Defendant TRAM

 manufactured, marketed or sold Wire Harness Products that were purchased

 throughout the United States, including in this District, during the Class Period.

 During the Class Period, its activities in the United States were under the control

 and direction of Tokai Rika Co., Ltd.

       63.    Defendants Tokai Rika Co., Ltd. and TRAM, Inc. are collectively

 referred to herein as “Tokai Rika.”

                 DEFENDANTS’ CO-CONSPIRATORS AND AGENTS

       64.    Various persons or firms not named as Defendants herein have

 participated as co-conspirators in the violations alleged herein and have performed

 acts and made statements in furtherance thereof. The Defendants are jointly and

 severally liable for the acts of their co-conspirators whether named or not named as

 Defendants in this Complaint.




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       65.    Each Defendant acted as the agent or joint venturer of or for other

 Defendants with respect to the acts, violations and common course of conduct

 alleged by Plaintiffs.

                           CLASS ACTION ALLEGATIONS

       66.    Plaintiffs bring this action both on behalf of themselves and all others

 similarly situated (the “Class”) pursuant to Federal Rules of Civil Procedure 23(a),

 23(b)(2) and (b)(3). The Class is defined as follows:

              All individuals and entities that purchased Wire Harness
              Products in the United States directly from one or more
              Defendants or co-conspirators from January 1, 2000 through the
              present.

       67.    Plaintiffs do not know the exact number of Class members, such

 information being in the exclusive control of Defendants. Due to the nature of the

 trade and commerce involved, however, Plaintiffs believe that the Class is so

 numerous and geographically dispersed throughout the United States that joinder

 of all Class members is impracticable.

       68.    There are questions of law or fact common to the class:

              a.     Whether Defendants engaged in a contract, combination, or

                     conspiracy to rig bids for, or to raise, fix, maintain, or stabilize

                     prices of Wire Harness Products sold in the United States;

              b.     Whether Defendants agreed to allocate the supply of Wire

                     Harness Products sold to certain direct purchasers in the United

                     States on a model-by-model basis;




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                c.    Whether Defendants’ conduct caused Wire Harness Products to

                      be sold in the United States at artificially high prices;

                d.    Whether Plaintiffs and other members of the Class were injured

                      by Defendants’ conduct, and, if so, the appropriate class-wide

                      measure of damages for Class members; and

                e.    Whether Plaintiffs and other members of the Class are entitled

                      to injunctive relief and, if so, the nature and extent of such

                      relief.

          69.   These questions of law and fact are common to the Class and

 predominate over any questions affecting only individual Class members.

          70.   Plaintiffs’ claims are typical of the claims of the Class because

 Plaintiffs directly purchased Wire Harness Products from one or more of the

 Defendants, all Class members were damaged by the same conspiracy alleged

 herein, and the relief sought by Plaintiffs is common to the Class.

          71.   Plaintiffs will fairly and adequately represent the interests of the Class

 in that Plaintiffs are direct purchasers of Wire Harness Products and have no

 conflict with any other members of the Class. Furthermore, Plaintiffs have retained

 competent counsel experienced in antitrust, class action, and other complex

 litigation.

          72.   Defendants have acted on grounds generally applicable to the Class,

 thereby making final injunctive relief appropriate with respect to the Class as a

 whole.



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       73.    A class action is superior to the alternatives, if any, for the fair and

 efficient adjudication of this controversy. Prosecution of this matter as a class

 action will eliminate the possibility of repetitive litigation and there are no inherent

 barriers to managing the case as a class action.

       74.    The prosecution of separate actions by individual Class members

 would create the risk of inconsistent or varying outcomes.

       75.    The Class is also readily definable and is one for which records likely

 exist in the files of Defendants and their co-conspirators.

                             INDUSTRY BACKGROUND

       76.    Wire harnesses are systems of electrical and electronic cables, wires

 and connectors used to transmit informational signals or operating currents to

 electronic control units, wiring, circuit boards, and other components in motor

 vehicles.

       77.    Wire harness assemblies consist of raw, coiled wire, which is cut to

 length and terminated. Individual circuits are assembled together on a jig or table,

 inserted into connectors and wrapped or taped to form wire harness assemblies.

       78.    Wire harnesses have color coded wires that are designed to support

 specific electrical and electronic motor vehicle features. Most, if not all, electrical

 and electronic devices in a vehicle rely on a wire harness to provide electric current

 and data transmission for operation.

       79.    Motor vehicles contain masses of wires that can amount to several

 kilometers in length. A motor vehicle’s wiring system is organized into multiple



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 wire harnesses. Wire harnesses provide organized connection points for multiple

 wiring configurations. The harness feature binds wires and cables into a bundle,

 which provides protection against deterioration or damage from vibration,

 abrasions, and moisture.

       80.    Wire Harness Products are installed by manufacturers in new vehicles

 as part of the manufacturing process. Also, Wire Harness Products are installed in

 vehicles to replace worn out, defective or damaged parts.

       81.    Automotive electrical wiring is the wiring that runs throughout the

 vehicle.

       82.    High voltage wiring is integral to vehicles equipped with hybrid, fuel-

 cell or electric-powered powertrains.

       83.    Lead wire assemblies connect a wire carrying electrical current from

 the power source to an electrode holder or a group clamp.

       84.    Cable bonds are the electrical connection between the armor or sheath

 of one cable and that of an adjacent cable or across a wire in the armor.

       85.    Automotive wiring connectors connect various types of wires in a motor

 vehicle.

       86.    Automotive wiring terminals are the ends of a wire that provide a

 point of connection to external circuits.

       87.    Electronic control units (“ECUs”) are embedded modules or systems

 that control one or more of the electrical systems or subsystems in a motor vehicle.




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 Motor vehicles are equipped with a large number of ECUs that operate various

 motor vehicle functions and exchange large volumes of data with one another.

       88.    Fuse boxes are modules that hold the fuses for the various electrical

 circuits, all of which are routed through the fuse box. The primary purpose of an

 electrical fuse is to help protect components on a circuit from damage in the event of

 a short circuit or a current spike or overload.

       89.    Relay boxes are modules that hold the electrical switches that transmit

 impulses from one component to another, and can be used to connect or break the

 flow of the current in a circuit. Once a relay is activated it connects an electrical or

 other data supply to a particular component or accessory.

       90.    Junction blocks are used as electrical connection points for the

 distribution power or distribution of a ground.

       91.    Power distributors serve to distribute power at varying levels to

 various electrical components.

 Requests For Quotation

       92.    Motor vehicle Original Equipment Manufacturers (“OEMs”) require

 multiple sources for motor vehicle parts. As part of their supply chain and

 procurement process, OEMs issue Requests for Quotation (“RFQs”) to parts

 suppliers on a model-by-model basis for model specific Wire Harness Products.

       93.    RFQs are a standard business practice that allow parts suppliers to

 submit price quotations or bids on specific products or services.




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       94.    Foreign OEMs participate in RFQs to procure parts for U.S.-

 manufactured vehicles both abroad and in the United States.

       95.    Generally, OEMs issue Wire Harness Products RFQs to begin the

 bidding process approximately three years prior to production of a motor vehicle.

       96.    OEMs’ RFQs typically include specifications and other relevant

 information for each motor vehicle product. In response to RFQs, parts suppliers

 submit price quotations, or bids, to OEMs to be considered for an award.

       97.    After receiving responses to RFQs from each respective bidder, OEMs

 then award the business to the selected parts suppliers generally for the life of the

 vehicle model and further confirmed with annual purchase orders.

       98.    Suppliers to OEMs have been required to directly purchase Wire

 Harness Products from Defendants at prices established by the OEMs and

 Defendants in the bidding process.

 The Wire Harness Products Industry

       99.    It was important to the success of the cartel alleged herein that its

 members control and manipulate the prices paid by OEMs in order to control the

 prices paid by all other direct purchasers of Wire Harness Products.

       100.   The Wire Harness Products industry is heavily concentrated. Wire

 Harness Products manufacturers are all capable of producing Wire Harness

 Products for use in any motor vehicle.




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       101.   During the Class Period the top four automotive Wire Harness

 Products manufacturers controlled 76.95% of the global market, and the top seven,

 all of which are Defendants, controlled 87.95% of the global market. See Figure 1.

 Market Shares of World's Major Manufacturers of Automotive Wiring Harness,
 2009

                    Yazaki                         29.81%
                    Sumitomo                       24.38%
                    Delphi                         16.71%
                    Leoni                          6.05%
                    Lear                           4.70%
                    Furukawa                       3.61%
                    Fujikura                       2.69%
 Figure 1.

       102.   According to Research in China, an international market research and

 market data firm, the global automotive wiring harness market reached U.S. $25.3

 billion in 2009, and grew by 6.6% to $26.9 billion in 2010. By 2013, the global

 automotive wiring harness market is projected to increase to almost U.S. $33

 billion. See Figure 2.




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              Global Automotive Wiring Harness Market Scale, 2007-2013




                         2007     2008     2009    2010     2011     2012    2013

          Market Scale 29,302 24,980 25,317 26,982 29,380 30,010 32,980
          (US$ million)
          Growth Rate 16.9% -14.7% 1.3%     6.6%   9.3%   9.0%   3%


 Figure 2.

       103.   There are high barriers to entry in the Wire Harness Products market

 due to high capital investment in plant and machinery and technical expertise. It is

 critically important for parts suppliers to maintain minimum viable scale in order

 to efficiently produce parts within the price and quantity parameters established by

 the OEMs. As such, loss of one’s position as a supplier of choice could have severe

 consequences to the business models of Defendants and their co-conspirators.




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       104.     In a competitive market, economies of scale and decreasing costs would

 lead to lower prices because manufacturers typically will reduce pricing rather than

 lose market share. In a market subject to a conspiracy to fix prices, however,

 competitors do not have the same incentive to lower prices despite steady or

 decreasing input costs because, based on a conspiratorial agreement, there is a

 smaller risk of losing sales to lower-priced competitors.

       105.     During the Class Period, the prices of Wire Harness Products

 increased, while the primary manufacturing input costs remained steady. In fact,

 the Yazaki, Sumitomo, Leoni, Furukawa, Delphi, Lear and Fujikura Defendants

 have extensive experience in wiring production and are able to control associated

 input costs.

 Opportunities To Conspire

       106.     Defendants and their co-conspirators attended industry events that

 provided the opportunity to meet, disguise their improper discussions, and perform

 acts in furtherance of the conspiracy. For example, Defendants and their co-

 conspirators have regularly attended the annual North American International

 Auto Show (“NAIAS”) in Detroit, Michigan and the Automotive Aftermarket

 Products Expo in Las Vegas, Nevada.

 The Conspiracy

       107.     During the Class Period, Defendants and their co-conspirators formed

 an international cartel to suppress and eliminate competition for Wire Harness




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 Products by agreeing to rig bids for, and to raise, fix, stabilize, or maintain the

 prices of, Wire Harness Products.

       108.   Defendants and their co-conspirators participated in meetings,

 conversations, and communications in the United States and abroad to discuss bids

 and price quotations for Wire Harness Products to be submitted to automobile

 manufacturers in the United States.

       109.   Defendants and their co-conspirators agreed during those meetings,

 conversations, and communications to allocate the supply of Wire Harness Products

 sold to automobile manufacturers in the United States on a model-by-model basis.

       110.   Defendants and their co-conspirators also agreed during meetings,

 conversations, and communications to coordinate price adjustments requested by

 automobile manufacturers in the United States.

       111.   Defendants and their co-conspirators submitted bids, price quotations,

 and price adjustments to automobile manufacturers in the United States in

 accordance with their conspiratorial agreements.

       112.   Defendants’ pricing actions regarding their sales of Wire Harness

 Products to automobile manufacturers had an impact on prices for Wire Harness

 Products for all direct purchasers of Wire Harness Products throughout the United

 States.

       113.   Defendants and their co-conspirators held meetings and conversations

 in the United States to monitor and police the agreed-upon bid-rigging and price-

 fixing conspiracy.



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       114.      Defendants and their co-conspirators undertook measures to maintain

 the secretive nature of their unlawful conduct, including but not limited to, using

 code names and meeting at private residences or remote locations.

 Government Investigations

       115.      Various U.S. and international governmental authorities, including

 the U.S. Department of Justice (“DOJ”) via its Antitrust Division, are currently

 investigating anticompetitive conduct in connection with the Wire Harness

 Products industry.

       116.      On February 23, 2010, the Federal Bureau of Investigation’s (“FBI”)

 Detroit division and the DOJ raided the U.S. offices of Denso, Yazaki, and TRAM.

 DOJ spokeswoman Gina Talamona said that “[t]he antitrust division is

 investigating the possibility of anticompetitive cartel conduct. . . . We are

 coordinating with the European Commission and other foreign competition

 authorities.”

       117.      On February 24, 2010, officials from the Competition Directorate of the

 EC raided the offices of Wire Harness Products manufacturers and a February 25,

 2010 EC press release disclosed that the “Commission confirms investigation into

 suspected cartel in the sector of automotive electrical and electronic components

 suppliers. . . . The Commission has reason to believe that the companies concerned

 may have violated EU antitrust rules that prohibit cartels and restrictive business

 practices.” Reports indicated that the EU’s investigation included Leoni AG, Leoni

 Kabel GmbH, Lear Automotive France, Delphi, Yazaki and S-Y Systems.



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       118.     Also on February 24, 2010, it was reported that the Japanese Fair

 Trade Commission (“JFTC”) raided three Japanese wire harness manufacturers

 suspected of participating in a price-fixing cartel: Yazaki Corporation, Sumitomo

 Electric Industries, Ltd., and Furukawa Electric Co., Ltd. The three manufacturers

 have a combined 90% share of the Japanese wire harness market.

       119.     On June 30, 2011, Defendant Fujikura Ltd. announced that it received

 an advance notice of disciplinary action against the company from the JFTC for

 violating antitrust laws regarding the trading of wiring harnesses. Fujikura Ltd.

 was ordered to pay 1.2 billion yen (U.S. $14.8 million).

       120.     On July 20, 2011, the JFTC raided seven Japanese auto parts makers,

 including Defendants Denso Corporation and its wholly-owned subsidiary Asmo.

 The Japan Times reported that the JFTC “suspects the parts manufacturers had

 meetings from 2002 or earlier to set parts prices and decided which companies

 would win contracts before bidding for orders from automakers.”

       121.     On July 27, 2011, Defendant Delphi announced in its consolidated

 second quarter 2011 financial statements that it “received a request from antitrust

 authorities at the European Commission seeking information about conduct by

 Delphi in connection with an investigation in the European Union related to the

 electrical and electronic components market” and is cooperating with European

 authorities.

       122.     On September 29, 2011, the DOJ charged Defendant Furukawa

 Electric Co., Ltd. and three of its executives with participating in a “combination



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 and conspiracy to suppress and eliminate competition in the automotive parts

 industry by agreeing to rig bids for, and to fix, stabilize, and maintain the prices of

 automotive wire harnesses and related products” in violation of the Sherman

 Antitrust Act.

       123.   Also on September 29, 2011, Defendant Furukawa Electric Co., Ltd.

 and its three executives agreed to plead guilty for their involvement in a criminal

 price-fixing and bid-rigging conspiracy in connection with the sale of Wire Harness

 Products. Furukawa Electric Co., Ltd. agreed to pay a $200 million fine while three

 of its executives agreed to serve prison time in the United States ranging from a

 year and a day to eighteen months.

       124.   The DOJ described these as the “first charges as a result of its ongoing

 international cartel investigation of price fixing and bid rigging in the auto parts

 industry.”

       125.   In a September 29, 2011 DOJ press release, Sharis A. Pozen, Acting

 Assistant Attorney General of the DOJ’s Antitrust Division stated that “[t]his cartel

 harmed an important industry in our nation’s economy, and the Antitrust Division

 with the Federal Bureau of Investigation will continue to work together to ensure

 that these kinds of conspiracies are stopped.”

       126.   FBI Special Agent in Charge Andrew G. Arena also said that “[w]hen

 companies partner to control and price fix bids or contracts, it undermines the

 foundation of the United States’ economic system.” “The FBI is committed to

 aggressively pursuing any company involved in antitrust crimes.”



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       127.   According to the DOJ, Defendant Furukawa Electric Co., Ltd. and its

 co-conspirators manufactured automotive Wire Harness Products (a) in the United

 States for installation in vehicles manufactured and sold in the United States, (b) in

 Japan for export to the United States and installation in vehicles manufactured and

 sold in the United States, and (c) in Japan for installation in vehicles manufactured

 in Japan for export to and sale in the United States.

       128.   The DOJ alleges that Furukawa Electric Co., Ltd. and its co-

 conspirators: (a) had meetings and communications in the United States and Japan

 to discuss bids and price quotations to be submitted to automobile manufacturers in

 the United States, (b) agreed on bids and price quotations to be submitted to

 automobile manufacturers in the United States, (c) agreed to allocate the supply of

 automotive wire harnesses and related products sold in the United States on a

 model-by-model basis, (d) agreed to coordinate price adjustments requested by

 automobile manufacturers in the United States, (e) submitted bids, price

 quotations, and price adjustments to automobile manufacturers in the United

 States in accordance with the agreements reached, (f) sold Wire Harness Products

 to automobile manufacturers in the United States at collusive and noncompetitive

 prices, and (g) participated in meetings and communications to monitor the

 conspiracy and conceal their unlawful conduct, including but not limited to using

 code names and meeting at private residences or remote locations.

       129.   On October 24, 2011, Hirotsugu Nagata pleaded guilty to a conspiracy

 to restrain trade in the market for Wire Harness Products in violation of the




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 Sherman Act before Judge George Steeh of the U.S. District Court for the Eastern

 District of Michigan. Nagata was employed at Furukawa America in Plymouth,

 Michigan as General Manager of Sales from January 2004 to November 2007, Chief

 Financial Officer from January 2004 until March 2009, and Marketing Manager for

 a related joint venture from January 2004 until June 2009. Nagata admitted in his

 guilty plea that during meetings and conversations with co-conspirators,

 “agreements were reached to allocate the supply of automotive wire harnesses and

 related products sold to automobile manufacturers on a model-by-model basis, rig

 bids quoted to automobile manufacturers for automotive wire harnesses and related

 products, and to fix, stabilize, and maintain the prices” for Wire Harness Products

 sold in the United States.

       130.   On October 24, 2011, Junichi Funo pleaded guilty to a conspiracy to

 restrain trade in the market for Wire Harness Products in violation of the Sherman

 Act before Judge George Steeh of the U.S. District Court for the Eastern District of

 Michigan. Funo worked at Furukawa Electric Co., Ltd. in Japan as a Honda Sales

 Division representative from April 2003 to August 2003, then as Assistant General

 Manager for Honda Sales at Furukawa America from August 2003 to March 2009,

 and also as Manager of the Honda Sales Division in Japan from March 2009 until at

 least July 2009. Funo admitted in his guilty plea that during meetings and

 conversations with co-conspirators, “agreements were reached to allocate the supply

 of automotive wire harnesses and related products sold to automobile

 manufacturers on a model-by-model basis, rig bids quoted to automobile




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 manufacturers for automotive wire harnesses and related products, and to fix,

 stabilize, and maintain the prices” for Wire Harness Products sold in the United

 States.

       131.   On November 10, 2011, Tetsuya Ukai pleaded guilty to a conspiracy to

 restrain trade in the market for Wire Harness Products in violation of the Sherman

 Act before Judge George Steeh of the U.S. District Court for the Eastern District of

 Michigan. Ukai worked at Furukawa Electric Co., Ltd. in Japan as a Manager in

 the Honda Sales Division from April 2003 to July 2005, Unit Chief in the Honda

 Sales Division from July 2005 to April 2007, and then General Manager of the

 Honda Sales Division from April 2007 until at least July 2009. Ukai admitted in

 his guilty plea that during meetings and conversations with co-conspirators,

 “agreements were reached to allocate the supply of automotive wire harnesses and

 related products sold to automobile manufacturers on a model-by-model basis, rig

 bids quoted to automobile manufacturers for automotive wire harnesses and related

 products, and to fix, stabilize, and maintain the prices” for Wire Harness Products

 sold in the United States.

       132.   On November 14, 2011, Defendant Furukawa Electric Co., Ltd.

 pleaded guilty for its involvement in a criminal price-fixing and bid-rigging

 conspiracy in connection with the sale of Wire Harness Products. Furukawa

 Electric Co., Ltd. admitted in its guilty plea that during the relevant period,

 “agreements were reached to allocate the supply of automotive wire harnesses and

 related products sold to automobile manufacturers on a model-by-model basis, rig




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 bids quoted to automobile manufacturers for automotive wire harnesses and related

 products, and to fix, stabilize, and maintain the prices” for Wire Harness Products

 sold in the United States. Furukawa Electric Co., Ltd. agreed to pay a $200 million

 fine.

         133.   On January 19, 2012, the JFTC issued cease and desist orders to

 Defendants Yazaki Corporation and Fujikura Ltd. The JFTC also fined Yazaki

 Corporation, Sumitomo Electric Industries Ltd. and Fujikura Ltd. The JFTC’s

 cease and desist orders and fines against these Defendants were based on their

 involvement in a price-fixing and bid-rigging conspiracy in connection with the sale

 of Wire Harness Products in violation of Article 3 of the Japanese Antimonopoly

 Act. According to a JFTC press release, Yazaki Corporation, Sumitomo Electric

 Industries Ltd., Fujikura Ltd., and Furukawa Electric Co., Ltd. “substantially

 restrained competition . . . [by] appointing the designated successful bidder and

 managing to have the designated successful bidder win the bidding.” The JFTC

 fined Yazaki Corporation approximately $125.8 million, Sumitomo Electric

 Industries Ltd. $27.5 million, and Fujikura Ltd. $14.4 million. Furukawa Electric

 Co., Ltd. admitted to its participation in a price-fixing and bid-rigging conspiracy,

 but was not fined because it provided information to the JFTC that led to the

 investigation.

         134.   On January 30, 2012, the DOJ announced that Defendant Yazaki

 Corporation had agreed to pay a $470 million fine and to plead guilty to a three-

 count criminal information charging Yazaki Corporation with, among other things,




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 participating in a combination and conspiracy with its co-conspirators to suppress

 and eliminate competition by agreeing to rig bids for, and to fix, stabilize, and

 maintain the prices of, Wire Harnesses Products sold to certain automobile

 manufacturers in the United States and elsewhere from at least as early as January

 2000 and continuing until at least February 2010 in violation of Section 1 of the

 Sherman Act. On March 1, 2012, Defendant Yazaki Corporation pleaded guilty to

 this charge.

       135.     In addition to Yazaki Corporation, four Yazaki executives, Tsuneaki

 Hanamura, Ryoji Kuwai, Shigeru Ogawa, and Hisamitsu Takada, agreed to plead

 guilty to antitrust violations arising from their participation in a conspiracy to

 suppress and eliminate competition by agreeing to rig bids for, and to fix, stabilize,

 and maintain the prices of Wire Harness Products sold to certain automobile

 manufacturers in the United States and elsewhere. The four executives of Yazaki

 Corporation will serve prison time ranging from 15 months to two years. The two-

 year sentences would be the longest term of imprisonment imposed on a foreign

 national voluntarily submitting to U.S. jurisdiction for a Sherman Act violation.

       136.     On January 30, 2012, the DOJ also announced that Defendant Denso

 Corporation agreed to plead guilty and pay a total of $78 million in criminal fines to

 a two-count criminal information charging Denso Corporation with, among other

 things, participating in a combination and conspiracy with its co-conspirators to

 suppress and eliminate competition by agreeing to rig bids for, and to fix, stabilize,

 and maintain the prices of certain ECUs sold to an automobile manufacturer in the




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 United States and elsewhere from at least as early as January 2000 and continuing

 until at least February 2010 in violation of Section 1 of the Sherman Act. ECUs are

 Wire Harness Products as alleged in this Complaint and are “essential to the

 wiring, circuit boards, gauges and fuel tanks of automobiles.” On March 5, 2012,

 Denso Corporation pleaded guilty to this charge.

       137.   On April 23, 2012, the DOJ announced that Defendant Fujikura Ltd.

 had agreed to plead guilty to a one-count criminal information charging it with

 participating in a combination and conspiracy with its co-conspirators to suppress

 and eliminate competition by agreeing to rig bids for, and to fix, stabilize, and

 maintain the prices of Wire Harnesses Products sold to an automobile manufacturer

 in the United States and elsewhere from at least as early as January 2006 and

 continuing until at least February 2010 in violation of Section 1 of the Sherman Act.

 Fujikura Ltd. also agreed to pay a $20 million fine for its role in the conspiracy.

                           FRAUDULENT CONCEALMENT

       138.   Defendants affirmatively and wrongfully concealed their anti-

 competitive conduct from Plaintiffs and the Class from at least January 1, 2000

 through at least February 2010, when the antitrust investigations of the Wire

 Harness Products manufacturers became public. During that time, Plaintiffs and

 the Class did not learn or discover the operative facts giving rise to their claims,

 despite due diligence. Thus, Defendants’ fraudulent concealment tolled the statute

 of limitations through at least February 2010.




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        139.   Defendants represented publicly, both to customers and otherwise,

 that their pricing and bidding activities were unilateral. In making those false

 representations, Defendants misled Plaintiffs and members of the Class as to the

 true, collusive, and coordinated nature of their bid-rigging, customer allocation, and

 price-fixing activities.

        140.   Defendants’ wrongful conduct was carried out in part through means

 and methods that were designed to avoid detection, and which, in fact, successfully

 precluded detection.

        141.   In particular, Defendants participated in meetings, conversations, and

 communications to discuss the bids and price quotations to be submitted to

 customers in the United States and elsewhere.

        142.   During these meetings, conversations, and communications,

 Defendants agreed upon bids and price quotations to be submitted to customers in

 the United States and elsewhere.

        143.   Defendants likewise agreed to allocate the supply of Wire Harness

 Products sold to customers in the United States and elsewhere.

        144.   Defendants also agreed to coordinate price adjustments requested by

 customers in the United States and elsewhere.

        145.   In accordance with the agreements reached by Defendants, they

 submitted collusive bids, price quotations, and price adjustments to customers in

 the United States and elsewhere.




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       146.   As a result of such coordinated actions, and unbeknownst to Plaintiffs,

 Defendants sold Wire Harness Products to purchasers in the United States at

 collusive and noncompetitive prices.

       147.   To keep the sale of Wire Harness Products at collusive and

 noncompetitive prices a secret, Defendants employed certain measures, including

 but not limited to, using code names and meeting at private residences or remote

 locations.

       148.   Moreover, Defendants’ successful contract, combination, or conspiracy

 was by its nature inherently self-concealing.

       149.   Despite due diligence, Plaintiffs had no knowledge of Defendants’

 unlawful contract, combination, or conspiracy.

       150.   In the course of purchasing Wire Harness Products, Plaintiffs studied

 prices of the specific products involved.

       151.   Plaintiffs received from one or more Defendants various pricing

 information. Plaintiffs had no way to know that Defendants’ prices were higher

 than they should have been due to the conspiracy alleged herein.

       152.   Plaintiffs did not and could not have discovered Defendants’ unlawful

 contract, combination, or conspiracy at any earlier date, despite due diligence.

 Defendants undertook affirmative acts of concealment of their contract,

 combination, or conspiracy, including their attendance at secret meetings, making

 misrepresentations to Plaintiffs and the Class of the reasons for the prices charged,




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 and engaging in secret conversations concerning the allocation of customers, bid-

 rigging, and price-fixing of Wire Harness Products.

                                 ANTITRUST INJURY

        153.   Defendants’ conspiracy caused injury to Plaintiffs and members of the

 Class by suppressing price competition among Wire Harness Products

 manufacturers, thereby depriving purchasers of Wire Harness Products of the

 benefits of a competitive market and setting prices of Wire Harness Products at

 artificially high levels.

        154.   As a direct result of Defendants’ conspiracy, Plaintiffs and members of

 the Class have been injured in their business or property in that they paid more for

 Wire Harness Products than otherwise would have been the case in a competitive

 market.

                                  CLAIM FOR RELIEF

      (Sherman Act Section 1 – Horizontal Price-Fixing Against All Defendants)


        155.   Plaintiffs incorporate by reference all the above allegations as if fully

 set forth herein.

        156.   During the Class Period, Defendants and their co-conspirators entered

 into a continuing agreement, combination or conspiracy in restraint of trade to

 artificially raise, fix, maintain, or stabilize prices for Wire Harness Products sold in

 the United States, in violation of Section 1 of the Sherman Act, 15 U.S.C. §1.

        157.   The contract, combination or conspiracy resulted in an agreement,

 understanding or concerted action between and among the Defendants and their co-


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 conspirators in furtherance of which the Defendants and their co-conspirators fixed,

 raised, maintained, or stabilized prices for Wire Harness Products sold in the

 United States. Such contract, combination, or conspiracy constitutes a per se

 violation of the federal antitrust laws.

       158.   Defendants succeeded in rigging bids, fixing, raising, maintaining and

 stabilizing the prices of Wire Harness Products sold in the United States during the

 Class Period.

       159.   For purposes of formulating and effectuating their conspiracy,

 Defendants and their co-conspirators did those things they conspired to do,

 including:

              a.     Participating in meetings and conversations in the United

                     States and elsewhere to discuss the bids and price quotations of

                     Wire Harness Products to be submitted to direct purchasers in

                     the United States;

              b.     Agreeing on bids and price quotations to be submitted to direct

                     purchasers in the United States;

              c.     Agreeing to manipulate prices and allocate supply of Wire

                     Harness Products sold in the United States in a manner that

                     deprived direct purchasers of free and open competition;

              d.     Agreeing to coordinate price adjustments in the United States;




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               e.    Submitting bids, price quotations, and price adjustments to

                     direct purchasers of Wire Harness Products in accordance with

                     the agreements reached;

               f.    Selling Wire Harness Products to direct purchasers in the

                     United States at noncompetitive prices; and

               g.    Employing measures to conceal the true nature of their unlawful

                     conduct from Plaintiffs and other members of the Class in

                     furtherance of the conspiracy.

        160.   As a direct and proximate result of Defendants’ unlawful conduct,

 Plaintiffs and the other members of the Class have been injured in their businesses

 or property in that they have paid more for Wire Harness Products than they

 otherwise would have paid in a competitive market.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that the Court enter judgment on their behalf

 and on behalf of the Class herein, and respectfully request the following relief:

        A.     That the Court determine that this action may proceed as a class

 action under Rule 23 of the Federal Rules of Civil Procedure, with Plaintiffs as the

 designated Class representatives and their counsel as Class Counsel;

        B.     That the contract, combination or conspiracy, and the acts done in

 furtherance thereof by Defendants and their co-conspirators as alleged in this

 complaint, be adjudicated and decreed a per se violation of Section 1 of the Sherman

 Act;



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        C.     That Plaintiffs and members of the Class recover damages sustained

 by them, as provided by the federal antitrust laws, and that a joint and several

 judgment in favor of Plaintiffs and the Class be entered against the Defendants in

 an amount to be trebled in accordance with 15 U.S.C. §15(a);

        D.     That Defendants, their subsidiaries, affiliates, successors, transferees,

 assignees and the respective officers, directors, partners, agents and employees

 thereof and all other persons acting or claiming to act on their behalf be

 permanently enjoined and restrained from continuing and maintaining the

 combination, conspiracy or agreement alleged herein;

        E.     That Plaintiffs and members of the Class recover their costs of this

 suit, including reasonable attorneys’ fees as provided by law;

        F.     That Plaintiffs and members of the Class be awarded pre-judgment

 and post-judgment interest; and

        G.     That Plaintiffs and members of the Class receive such other or further

 relief as may be just and proper.

                              JURY TRIAL DEMANDED

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury of all

 issues so triable.




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 Dated: May 14, 2012                        /s/ David H. Fink__________
                                            David H. Fink (P28235)
                                            Darryl Bressack (P67820)
                                            FINK + ASSOCIATES LAW
                                            100 West Long Lake Road; Ste. 111
                                            Bloomfield Hills, MI 48304
                                            (248) 971-2500
                                            dfink@finkandassociateslaw.com
                                            dbressack@finkandassociateslaw.com

                                            Direct Purchaser Interim Liaison
                                            Counsel

 Gregory P. Hansel                       Joseph C. Kohn
 Randall B. Weill                        William E. Hoese
 Joshua R. Carver                        Douglas A. Abrahams
 PRETI, FLAHERTY, BELIVEAU               KOHN, SWIFT & GRAF, P.C.
   & PACHIOS LLP                         One South Broad Street, Suite 2100
 One City Center, P.O. Box 9546          Philadelphia, PA 19107
 Portland, ME 04112-9546                 Telephone: (215) 238-1700
 Telephone: (207) 791-3000               jkohn@kohnswift.com
 ghansel@preti.com                       whoese@kohnswift.com
 rweill@preti.com                        dabrahams@kohnswift.com
 jcarver@preti.com


 Michael J. Freed                        Eugene A. Spector
 Steven A. Kanner                        William G. Caldes
 William H. London                       Jonathan M. Jagher
 Michael L. Silverman                    Jeffrey L. Spector
 FREED KANNER LONDON                     SPECTOR ROSEMAN KODROFF
   & MILLEN LLC                            & WILLIS, P.C.
 2201 Waukegan Road, Suite 130           1818 Market Street, Suite 2500
 Bannockburn, IL 60015                   Philadelphia, PA 19103
 Telephone: (224) 632-4500               Telephone: (215) 496-0300
 mfreed@fklmlaw.com                      espector@srkw-law.com
 skanner@fklmlaw.com                     bcaldes@srkw-law.com
 blondon@fklmlaw.com                     jjagher@srkw-law.com
 msilverman@fklmlaw.com                  jspector@srkw-law.com



                       Direct Purchaser Interim Lead Counsel



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 W. Joseph Bruckner                     Robert Bonsignore
 LOCKRIDGE GRINDAL                      Richard Kirchner
    NAUEN P.L.L.P.                      Brian Hagen
 100 Washington Avenue South            Paula Flannery
 Minneapolis, MN 55401                  Lisa Sleboda
 Telephone: (612) 339-6900              BONSIGNORE & BREWER
 wjbruckner@locklaw.com                 193 Plummer Hill Road
                                        Belmont, NH 03220
                                        Telephone: (781) 856-7650
                                        rbonsignore@class-actions.us
                                        rkirchner@class-actions.us
                                        bhagen@class-actions.us
                                        pflannery@class-actions.us
                                        lsleboda@class-actions.us

 Brian Murray                           Garret Blanchfield
 Lee Albert                             REINHARDT, WENDORF
 MURRAY FRANK LLP                           & BLANCHFIELD
 275 Madison Avenue, Suite 801          E-1250 First National Bank Bldg.
 New York, NY 10016                     332 Minnesota St.
 Telephone: (212) 682-1818              St. Paul, MN 55101
 bmurray@murrayfrank.com                Telephone: (651) 287-2100
 lalbert@murrayfrank.com                g.blanchfield@rwblawfirm.com

 Solomon B. Cera                        James F.B. Daniels
 GOLD BENNETT CERA                      MCDOWELL, RICE, SMITH
   & SIDENER LLP                         & BUCHANAN, P.C.
 595 Market Street, Suite 2300          605 West 47th Street, Suite 350
 San Francisco, CA 94105                Kansas City, MO 64112-1005
 Telephone: (415) 777-2230              Telephone: (816) 753-5400
 scera@gbcslaw.com                      jdaniels@mcdowellrice.com

 Manuel John Dominguez                  Vincent J. Esades
 COHEN MILSTEIN SELLERS & TOLL          HEINS MILLS & OLSON, P.L.C.
   PLLC                                 310 Clifton Avenue
 3507 Kyoto Gardens Drive               Minneapolis, MN 55403
 Suite 200                              Telephone: (612) 338-4605
 Palm Beach Gardens, FL 33410           vesades@heinsmills.com
 Telephone: (561) 578-6850
 jdominguez@cohenmilstein.com




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 Karlos F. Finley                       Joseph M. Fischer
 BOTELER, FINLEY & WOLFE, P.C.          CARSON FISCHER, P.L.C.
 1252 Dauphin Street                    4111 Andover Road West - Second Floor
 Mobile, AL 36604                       Bloomfield Hills, MI 48302-1924
 Telephone: (251)433-7766               Telephone: (248) 644-4840
 karlos@bfw-lawyers.com                 jfischer@carsonfischer.com


 Bruce E. Gerstein                      Lewis Goldfarb
 GARWIN GERSTEIN & FISHER LLP           MCELROY, DEUTSCH, MULVANEY
 1501 Broadway, Suite 1416               & CARPENTER, LLP
 New York, NY 10036                     1300 Mount Kemble Avenue
 Telephone: (212) 398-0055              P.O. Box 2075
 bgerstein@garwingerstein.com           Morristown, NJ 07962-2075
                                        Telephone: (973) 425-8689
                                        lgoldfarb@mdmc-law.com

 Jeffrey S. Goldenberg                  Steve Greenfogel
 GOLDENBERG SCHNEIDER, LPA              LITE DEPALMA GREENBERG, LLC
 35 East Seventh Street, Suite 600      1521 Locust Street
 Cincinnati, OH 45202                   Philadelphia, PA 19102
 Telephone: (513) 345-8291              Telephone: (215) 564-5182
 jgoldenberg@gs-legal.com               sgreenfogel@litedepalma.com

 Steven D. Irwin                        Irwin B. Levin
 LEECH TISHMAN FUSCALDO                 COHEN & MALAD, LLP
    & LAMPL, LLC                        One Indiana Square, Suite 1400
 525 William Penn Place, 30th Floor     Indianapolis, IN 46204
 Pittsburgh, PA 15219                   Telephone: (317) 636-6481
 Telephone: (412) 261-1600              ilevin@cohenandmalad.com
 sirwin@leechtishman.com

 Daniel J. Mogin                        D. Michael Noonan
 THE MOGIN LAW FIRM, P.C.               SHAHEEN & GORDON, P.A.
 707 Broadway, Suite 1000               P.O. Box 977
 San Diego, CA 92101                    140 Washington Street, 2nd floor
 Telephone: (619) 687-6611              Dover, NH 03821
 dmogin@moginlaw.com                    Telephone: (603) 749-5000
                                        mnoonan@shaheengordon.com




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 Linda P. Nussbaum                      Robert Peurach
 Robert G. Eisler                       DAKMAK PEURACH, P.C.
 GRANT & EISENHOFER P.A.                615 Griswold Street, Suite 600
 485 Lexington Avenue, 29th Floor       Detroit, MI 48226
 New York, NY 10017                     Telephone: (866) 732-9522
 Telephone: (646) 722-8500              rpeurach@gdakmak.com
 lnussbaum@gelaw.com
 Dustin M. Roach                        R. Alexander Saveri
 VAN GILDER & TRZYNKA, P.C.             Cadio Zirpoli
 436 E. Wayne Street                    SAVERI & SAVERI, INC.
 Fort Wayne, IN 46802                   706 Sansome Street
 Telephone: (260) 424-8132              San Francisco, CA 94111
 droach@vgtlaw.com                      Telephone: (415) 217-6810
                                        rick@saveri.com
                                        cadio@saveri.com

 Wesley Steury                          Michael T. Smith
 BURT BLEE DIXON SUTTON &               LAW OFFICES OF
 BLOOM, LLP                             MICHAEL T. SMITH
 200 East Main Street, Suite 1000       440 West Irving Park Road
 1st Source Banking Center              Roselle, IL 60172
 Fort Wayne, IN 46802                   Telephone: (847) 380-5899
 Telephone: (260) 426-1300              lawoffice0724@sbcglobal.net
 Wsteury@burtblee.com

 Stephen M. Smith                       Jason J. Thompson
 JOSEPH SMITH, LTD.                     Lance A. Young
 2100 Kecoughtan Road                   SOMMERS SCHWARTZ PC
 Hampton, VA 23661                      2000 Town Center, Suite 900
 Telephone: (757) 244-7000 Ext. 123     Southfield, MI 48075
 ssmith@braininjurylawcenter.com        Telephone: (248) 355-0300
                                        jthompson@sommerspc.com
                                        lyoung@sommerspc.com




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